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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division

JAMES MANNING, et al.'

        Plaintiffs,

v.                                                Civil Action No. 3:23-cv-586

DRURY HOTELS COMPANY, LLC,
d/b/a DRURY PLAZA HOTEL RICHMOND,
et al.,

        Defendants.


                                MEMORANDUM OPINION

         This matter is before the Court on OTIS ELEVATOR COMPANY'S

MOTION     TO    DISMISS      PLAINTIFF'S      COMPLAINT      (ECF   No.    15)   ("the

Motion") '      DEFENDANT       OTIS    ELEVATOR       COMPANY' s     MEMORANDUM     IN

SUPPORT OF MOTION TO DISMISS (ECF No. 16), PLAINTIFF'S RESPONSE

TO     OTIS     ELEVATOR      COMPANY'S       MOTION    TO   DISMISS       PLAINTIFF'S

COMPLAINT        (ECF   No.     22),    Plaintiffs'       BRIEF      IN    SUPPORT   OF

PLAINTIFF'S       RESPONSE      TO     OTIS    ELEVATOR      COMPANY'S      MOTION   TO

DISMISS PLAINTIFF'S COMPLAINT             (ECF No.      23) , 1 and DEFENDANT OTIS

ELEVATOR COMPANY'S MEMORANDUM REPLYING TO PLAINTIFF'S RESPONSE


1 The plaintiffs filed a response and a separate memorandum in
support of the response, as one would file when filing a motion
and supporting memorandum under Local Rule 7.          This was
procedurally in error, but the memoranda do not appear to make
separate arguments. Accordingly, the Court construes them as one
memorandum.
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TO, AND IN FURTHER SUPPORT OF, OTIS'S MOTION TO DISMISS (ECF No.

25). Having reviewed the papers and heard oral argument, and for

the reasons set forth on the record on April 2,                        2024,        and for

those reasons set forth below, the Motion will be granted.


                                      BACKGROUND

I. Procedural History

        On June 23,    2023,    Plaintiffs James Manning,              Sherry Lomax,

Robert Watson, and Debra Manning filed individual actions in the

Circuit Court of Virginia for Henrico County against Defendants

Drury    Hotels   Company,      LLC    and     Drury    Development       Corporation

(individually and collectively "Drury"), doing business as Drury

Plaza Hotel Richmond, as well as Defendant Otis Elevator Company

("Otis") .   Each complaint alleged negligent failure                     to maintain

an elevator in the Dury Plaza Hotel in western Henrico County.

ECF No. 1-2; Case No.          3:23-cv-587, ECF No.           1-2; Case No.               3:23-

cv-588, ECF No. 1-2; Case No. 3:23-cv-589, ECF No. 1-2.

       After Drury filed a NOTICE OF REMOVAL                   (ECF No.      1)    in each

case    on   September   14,     2023,    and     after       conferring          with      the

parties at the initial pretrial conference on March 30,                                   2024,

the Court     consolidated the         cases and ordered that all                    future

pleadings to be filed under the style of this case, Civil Action

No.    3: 23-cv-586.   Order    of     March    22,    2024     (ECF   No.        31) .     The

Motion seeks dismissal of all cases as to Otis.
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II. Factual Background

      The facts alleged in the COMPLAINT (ECF No. 1-2) and taken

in the light most favorable to the plaintiffs, are simple.

      On    or      about      August   8,     2021,     all      four   plaintiffs      were

passengers in an elevator at the Drury Plaza Hotel Richmond. ECF

No. 1-2     1 3. The plaintiffs were registered guests of the hotel.
Id.   While      the    plaintiffs      were       on   the    elevator,      it    allegedly

malfunctioned and fell approximately two floors before stopping

abruptly,      injuring        the   plaintiffs.         Id.   11 4,     9.    Otis    had   a

contract with Drury to maintain the elevator. Id.                          1 2; ANSWER OF
OTIS ELEVATOR COMPANY (ECF No. 19)                  1 2.
      The plaintiffs have pled that:

               [I]t was the Duty [sic] of Otis to properly
              maintain the aforementioned elevator free
              from defects. It was also the duty of Otis
              to warn invitees as well as Drury of any
              defective   condition associated with    the
              elevator.

ECF   No.     1-2      1 7.     "Notwithstanding           said    duties,"        Plaintiffs

continued,       "Otis        carelessly     and        negligently      maintained       the

elevator so that it malfunctioned causing it to suddenly fall

approximately two floors before stopping abruptly," injuring the

plaintiffs. Id.         1 8.




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III. Parties' Positions

           a. Otis

           The crux of the Motion is that Otis did not owe a duty in

tort to the plaintiffs. Noting that there are only two potential

sources       of     a    legal    duty        from which a         cause    of   action          could

arise: tort and contract, 2 Otis points out that the maintenance

contract       was        between       Otis    and    Drury,     and      that   none       of    the

plaintiffs were a party to it. Id. at 2. So, the only duty Otis

could owe the plaintiffs is in tort, i.e., negligence.

           Citing    Tingler       v.     Graystone      Homes,      834    S.E.2d       244       (Va.

2019),       Otis        argues    that    to    establish a         cognizable        claim        for

negligence,          the duty alleged to have been breached must be a

statutory or common law duty,                     not one arising out of contract.

Id. at 6. Tingler,                says Otis, stands for the proposition that a

duty of care in tort cannot arise from a contract. ECF No. 16 at

7    ("Generally,          the duty must arise by operation of law and not

by mere agreement of the parties. Stated differently,                                    a     'tort'

is     a     legal        wrong     committed          upon   the     person      or     property

independent of contract.")                     (quoting Tingler,        834 S. E. 2d at 254)

(cleaned up) .




2   See ECF No. 16 at 5-6.


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       Otis also relies on a recent Eastern District of Virginia

case that it says is on all fours with this one. In Holderfield

v.    ThyssenKrupp        Elevator        Corp.,                 No.    1:20-cv-01599,               2022      WL

980638     (E.D.    Va.        March     30,             2022),         the       court       dismissed         a

complaint alleging that the elevator company negligently failed

to    maintain     an    elevator        in      a        government              building          where     the

elevator company had a contract to maintain the elevators. ECF

No. 16 at 7. According to Otis, Holderfield held that "[w] hile

Virginia tort law has recognized actionable claims with respect

to elevator injuries, these decisions have only extended to the

owners and operators of elevators,                               and not in the context of a

defendant     tasked          solely,       in           a       contractual             capacity,          with

elevator maintenance               and   repair. 11              Id.    at        8    (quoting       2 022    WL

980638, at *10).

       Therefore,        says       Otis,        the             only     duty           Otis       owed      the

plaintiffs was the universal common law duty not to harm them

actively or affirmatively. Id. Otis characterizes this as a duty

not   to   engage       in     "misfeasance,"                    versus       a       duty    not    to     harm

someone     through           an    omission,                which        it          characterizes           as

"nonfeasance."          Id.    Citing       Tingler               again,          Otis       contends       that

there is no common law duty in tort to "fail[]                                           to do something

that would have prevented harm .                             .    .    . " Id. at 9 (quoting 834

S.E.2d-at 256). By way of another example, Otis cites a case in

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which the court held that there was no duty of one defendant,

which      had    contracted   to     perform    maintenance   on    the    other

defendant's property, to prevent an attack and robbery due to a

door lock left in disrepair. Id. at 10 (citing Holles v. Sunrise

Terrace, Inc., 509 S.E.2d 494, 498 (Va. 1999)).

        b. Plaintiffs

        In their response MEMORANDUM,           the plaintiffs repeat their

conclusory        statement    from     the     COMPLAINT   that    Otis     both

"carelessly and negligently maintained the elevator .                 .    . " and

that Otis had a duty to maintain the elevator free from defects.

ECF No.      22   1 2.   In addition,    the plaintiffs respond to Otis's

contention that Otis owed the plaintiffs no common law duty of

care,     by arguing that a Virginia court has ruled against Otis

before on this very issue,            attaching a    copy of an order from

Markert v. Richmond Int'l Raceway,              Inc., No. CL062737    (Richmond

Circuit Court 2008). ECF No. 22              1 3; ECF No. 22 at 3. However,
the order they attached was one merely denying Otis's demurrer

in that case, 3 and it provided no context whatsoever for the

nature of the claim or demurrer itself.




3 Moreover, the Order was marked up and in handwriting different
from that of the presiding judge, without a separate date or
initial, confusingly explaining that the demurrer was denied in
part and granted in part. See ECF No. 22 at 3.

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       In a     separately filed brief in support of the                          "RESPONSE"

(see    n.l,     supra),      the    plaintiffs       make        some    additional        legal

arguments.       First,      they characterize Otis' s               argument        as    saying

that Otis's contract with Drury "insulate [d]                            and immunize [d]      it

from any and all             liability in tort              for    its     negligent and/or

careless       conduct. "     ECF     No.   23   at     2.    Ci ting       Parker    v.    Elco

Elevator Co.,          462   S.E.2d 98       (Va.     1995),       the plaintiffs argue

that there,       the court held that the plaintiff "was entitled to

present evidence at trial on a theory of negligence against the

elevator company."

       Next,    the plaintiffs respond to Otis's argument that the

COMPLAINT       does    not    allege       misfeasance,           but     nonfeasance,       by

pointing to Paragraph 8 of the COMPLAINT which "alleges that the

Defendant acted negligently and carelessly causing the elevator

to malfunction."          That,     say the plaintiffs,              is tantamount to a

claim of affirmative misfeasance. Id.

       Finally, the plaintiffs address Otis's argument that it did

not owe the plaintiffs a common law duty,                          relying on Boland v.

Rivanna Partners, 69 Va. Cir. 308 (2005). ECF No. 23 at 2-3. The

plaintiffs argue that,              in Boland,        as here,       the plaintiff sued

one defendant who had a contract to safely maintain the parking

lots    of     the     other        defendant.        The     independent        contractor

defendant there argued that the only duty it had arose from that

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contract.          Id.   The     plaintiffs           here    argue       that    the       court       in

Boland rejected           that     argument,          holding      that     the    users         of    the

parking           lot    were      reasonably           foreseeable          and          thus,        the

independent contractor owed them a duty to use reasonable care

in maintaining the lot.                  Id.    at 3. According to the plaintiffs,

here,        as    in    Boland,     they,       guests       of    the     hotel,         would        be

foreseeably affected by the elevator and therefore,                                        Otis owed

them a common law duty of care. Id.

        c. Otis's Reply

        In    reply,      Otis     made    three       main     arguments:         ( 1)     that       the

plaintiffs misunderstood and mischaracterized Otis's                                       arguments

on brief;          (2)   that     Otis     is    alleged only          to    have         engaged       in

nonfeasance, which is not a breach of the generic duty of care;

and (3)       that none of the plaintiffs' case analogies held water.

ECF No. 25.


                                           DISCUSSION

I. Legal Standard

        "A motion        filed under Rule 12 (b) (6)                  challenges           the    legal

sufficiency of a complaint,                    considered with the assumption that

the    facts       alleged are       true."       Francis v.          Giacomelli,           588       F. 3d

186,    192       (4th Cir.      2009)     (cleaned up).           The Court "must accept

the factual allegations of the complaint as                                 true and construe


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them     in       the     light     most      favorable         to    the    nonmoving        party."

Rockville Cars, LLC v. City of Rockville, 891 F.3d 141, 145 (4th

Cir. 2018). So,             "[t]o survive a motion to dismiss,                            a complaint

must    contain sufficient                 factual       matter,       accepted as           true,     to

'state       a     claim     to     relief     that      is     plausible         on   its    face.'"

Ashcroft v.          Iqbal,       556 U.S.        662,   678     (2009)      (quoting Bell Atl.

Corp.       v.    Twombly,        550 U. s.    544,      570     ( 2007)) . But,          "[a] lthough

for the purposes of [a] motion to dismiss [the Court] must take

all the factual allegations in the complaint as true,                                         [it is]

not bound to accept as                     true a        legal conclusion couched as a

factual          allegation."         Papasan       v.    Allain,          478     U.S.     265,      286

(1986) .

        A     district       court         sitting       in    Virginia          applies     Virginia

choice of law to decide tort actions. Milton v. IIT Res. Inst.,

138 F.3d 519, 521 (4th Cir. 1998)                         (citing Klaxon Co. v. Stentor

Elec. Mfg.         Co.,     313 U.S.        487    (1941)). Applying Virginia choice

of law,          "Virginia applies the lex loci delicti,                           the law of the

place of          the wrong,         to tort actions             like       this one."        Id.    The

alleged tort happened in Virginia. Thus, whether a duty in tort

existed is a question of Virginia law.

        " 'Negligence, '           [ the    Supreme       Court       of    Virginia       has]      long

said,       'is     not    actionable         unless          there    is    a     legal     duty,      a

violation of the duty, and consequent damage." Burns v. Gagnon,

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727 S.E.2d 634, 641 (Va. 2012)                (quoting Marshall v. Winston, 389

S.E.2d 902,         904   (Va.   1990)). Therefore,             "[i]n Virginia,      '[t]he

question of liability for negligence cannot arise at all until

it is established that the man who has been negligent owed some

duty    to    the     person     who     seeks   to    make       him   liable     for    his

negligence.'"         Tingler,     834    s. E. 2d    at    253    (quoting      Dudley v.

Offender Aid & Restoration of Richmond,                         Inc.,   401    S. E. 2d 878

(Va. 1991)) .

       In    Tingler,      the    Supreme     Court    of       Virginia    set    forth    a

detailed and thorough analysis of the "choice of duty" rule in

Virginia,      governing whether a            duty--the breach of which gives

rise to a cause of action- -arises from contract or from common

law. Writing for a unanimous court,                   Justice Kelsey held to the

well-established          axiom        that   "there       is     no    such      thing    as

negligence in the abstract, or in general                                  " Tingler, 834

S.E.2d at 253 (quoting Kent v. Miller, 189 S.E. 332 (Va. 1937)).

Rather,      the negligence must arise from the breach of a specific

duty. And:

              No matter the alleged harm, tort liability
              cannot be imposed upon a contracting party
              for failing to do a contractual task when no
              common-law tort duty would have required him
              to do it anyway--and thus, as the maxim
              restates, "in order to recover in tort, the
              duty tortiously or negligently breached must
              be a common law duty, not one existing
              between the parties solely by virtue of the
              contract."
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Id. at 255 (quoting MCR Fed., LLC v. JB&A, Inc., 808 S.E.2d 186,

193 (Va. 2017)). Therefore, although the existence of a contract

between      two       parties      does     not       "shield"       one    party       from        tort

liability,        tort       liability cannot arise                  solely by virtue of a

failure      to        perform      that     contract.        See      id.    ( "We      have        also

emphasized         that      the    mere     fact      that      a    plaintiff       has          sought

recovery       for      pain       and     suffering      does       not,     standing             alone,

convert a contract claim into an action in tort.")                                 (cleaned up).

         Accordingly,         to survive a motion to dismiss as to a claim

for      negligence,         a     plaintiff       must    plausibly          plead       that        the

defendant breached a common law duty of care, 4 separate from the

existence         of     a    contract       to     maintain         premises       for        another

defendant. In assessing the nature of that duty, it is necessary

to keep in mind that,                "[t] hough subject to various exceptions,

the      traditional         view        recognizes       that       '[t]here       is        no     tort

liability for nonfeasance, i.e., for failing to do what one has

promised to do in the absence of a duty to act apart from the

promise made.'" Id. at 256 (quoting William L. Prosser                                    &   W. Page

Keeton, Prosser and Keeton on the Law of Torts§ 92, at 657 (Dan

B. Dobbs et al. eds.,                5th ed. 1984)). This is true whether the

harm done to the plaintiffs was foreseeable or not.                                      "[N] o     tort

4 The breach of              a   duty set         by statute was             not    at    issue        in
Tingler.

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duty     arises        simply       because         [one]      fails        to     make

contractually               required          repairs              irrespective           of         the

foreseeability of . . . harm to [others]." Id. at 257.

        In    similar       contexts,        the    Supreme         Court    of     Virginia         has

reached the same result.                In Steward ex rel. Steward v. Holland

Fam.    Props.,    LLC,       726    s. E. 2d 251, 254-255 (Va. 2012) , where a
tenant        suffered      an      injury     caused         by    the     condition          of    the

premises, the Supreme Court of Virginia held that a lease could

not    impute     an     affirmative         common law duty                on a     landlord         to

maintain       leased       property     free           of   dangerous       defects.          And    in

Holderfield, an Eastern District of Virginia decision, applying

Virginia law,          held that an elevator company did not transform

into a        common     carrier       {which,          if   so,    would    impute       a    higher

standard of care)            by virtue of a maintenance contract. 2022 WL

980638, at *10. In fact, the court there held that it could not

"find as a matter of law that [the elevator maintenance company]

owed any common law duty to [the] plaintiff. Rather, the source

of     [the    company's]        duty        [arose]         entirely       from    the       private

agreement to provide elevator repair and maintenance services to

[the building owners]." Id. (first emphasis added).

       In short,        a    duty in tort must arise                      independently of a

contract, especially where a breach of that duty is alleged by

parties not privy to that contract. And no common law duty to

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prevent      harm   exists    absent    a     special       relationship      or   other

exception to the general rule.

II. Analysis

       The    COMPLAINT      makes     the    following          allegations:      Drury

operates the hotel; Drury contracted with Otis to maintain the

elevators in the hotel; Otis had a duty to properly maintain the

elevators; the plaintiffs were registered guests at the hotel on

or about August 8, 2021, when the elevator fell and injured the

plaintiffs while they were on it;                Otis negligently maintained

the elevator causing it to malfunction;                     Otis was aware of the

defect that caused the fall,            either actively or constructively;

and, Otis did not warn Drury or the plaintiffs. ECF No. 1-2                           1~
1-4, 7-9.

       However,     the   mere   statement       that        a   duty    to   maintain

existed,     and that the maintenance was negligent,                    are the types

of "[t] hreadbare recitals of the elements of a cause of action,

supported by mere conclusory statements                 .    .   .   , " Ashcroft,   556

U.S. at 678, that the heightened pleading standard seeks to weed

out.

       The analysis therefore turns to whether,                      taking the well-

pled factual allegations as true, the COMPLAINT pleads a legally

sufficient negligence claim (for failure to maintain or failure

to warn). It does not.

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        The contract between Otis and Drury cannot give rise to a

negligence     action       for    the    plaintiffs.        Tingler   is    controlling

authority in this case.             It is well-settled there              (and in other

Virginia cases,           relied on in Tingler and elsewhere)                  that    the

source of a         legal duty in tort cannot arise from a                     contract.

Here,    Otis contracted to maintain the elevator for Drury.                          This

contractual duty was for the benefit of Drury,                         even though the

plaintiffs were foreseeable victims of a breach of that duty.

See     Tingler,     834    S.E.2d       at    254   n.8.    Because   Otis    owed    the

plaintiffs no duty in contract, the plaintiffs must allege that

a     common   law    duty        existed       to   state    a   legally     sufficient

negligence claim. They have not made such an allegation.

        Absent the contract,          the relationship between Otis and the

plaintiffs     is    no    different          than   the    relationship between two

passers-by     on    the    street.       Tingler      instructs    the     well-settled

rule that, in general, there is no higher duty owed between such

parties than a general duty to act with reasonable care.                              That

is, a duty not to affirmatively, unreasonably act; i.e., a duty

not to engage in misfeasance. See id. at 256                       ("There is no tort

liability for nonfeasance,               i.e., for failing to do what one has

promised to do in the absence of a duty to act apart from the

promise made.") . This does not change by virtue of the contract

between Otis and Drury.

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        Holderfield       is    persuasive          here   as    well.          As     in    Tingler,

Holderfield        held       that    "[actionable          tort       claims]            have      only

extended to the owners and operators of elevators,                                      and not in

the     context    of     a    defendant       tasked      solely,         in     a    contractual

capacity, with elevator maintenance and repair." 2022 WL 980638,

at    *10.      Furthermore,          the      existence         of        the        contract        in

Holderfield did not transform the elevator company's role into

something greater,             like a   common carrier,               or create a             special

relationship,         elevating       the     duty of      care       to    something higher

than a general duty of reasonableness.                          See id.          Thus ,     Otis did

not owe the plaintiffs a common law duty by virtue of being a

common carrier, or by virtue of some other special relationship,

either.

        The COMPLAINT does not allege the existence of a common law

duty owed by Otis to the plaintiffs to keep the elevator free

from defects. Nor does it allege a common law duty to warn.

        At   the   hearing       on     the    Motion,       counsel             for      plaintiffs

explained that he had not amended the COMPLAINT,                                 to comply with

the   "plausibility"           standard set forth by the Supreme Court in

Iqbal     and   Twombly,        because       he    was    still       awaiting             discovery

containing      the     "necessarily          particular        facts"           with       which    he

would amend the           COMPLAINT.        However,       counsel         for Otis made             it

known that Otis had turned over the relevant documents,                                          weeks

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prior,    in its   initial disclosures.       Counsel     for      the plaintiffs

did not dispute that representation.             Therefore,        plaintiffs had

the opportunity to seek leave to modify the COMPLAINT before the

hearing    on   this   matter,   which    they   failed       to   do.   For   that

reason, the Motion will be granted without leave to amend.


                                 CONCLUSION

     For the foregoing reasons,           OTIS ELEVATOR COMPANY' s MOTION

TO DISMISS PLAINTIFF'S COMPLAINT           (ECF No.     15)     will be granted

without leave to amend.

     It is so ORDERED.



                                                  /s/
                             Robert E. Payne
                             Senior United States District Judge


Richmond, Virginia
Date: April __fB_, 2024




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